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     KAUFMAN DOLOWICH & VOLUCK, LLP
 1   Aimee G. Hamoy (SBN 221228)
 2   180 Grand Avenue, Ste. 995
     Oakland, CA 94612
 3   Telephone: (510) 630-7646
     Facsimile: (415) 926-7601
 4   Email: ahamoy@kdvlaw.com
     Attorney for Defendant
 5   SAFEGRAPH
 6

 7                         IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     CALVARY CHAPEL SAN JOSE, a
10                                                    Case No.: 3:23-cv-04277-VC
     California nonprofit corporation; PASTOR
11   MIKE MCCLURE, an individual;
                                                      DECLARATION OF AIMEE HAMOY IN
12                 Plaintiffs,
                                                      SUPPORT OF SPECIALLY-APPEARING
13                                                    DEFENDANT SAFEGRAPH’S MOTION TO
           v.
                                                      DISMISS PURSUANT TO FEDERAL RULE
14                                                    12(b)(5)
     SANTA CLARA COUNTY; and
15   SAFEGRAPH,

16                 Defendants.
17

18

19
20      1. I, Aimee Hamoy, declare as follows:
21      2. I am an attorney duly licensed to practice law in the State of California. I am a partner at
22         the law firm of Kaufman, Dolowich, & Voluck, attorneys for specially-appearing
23         Defendant, SafeGraph, Inc. I have personal knowledge of each, and all the facts stated
24         herein, except those stated upon information and belief.
25      3. Attached as Exhibit A is a true and correct copy of the Proof of Service filed by Plaintiffs
26         Calvary Chapel San Jose and Pastor Mike McClure (“Plaintiffs”). (Dkt. 9)
27      4. As referenced in Plaintiffs’ Proof of Service, Plaintiffs served the Summons and
28         Complaint by delivery to an individual named Samir Buorema at the address 182
                                                     1
     DECLARATION IN SUPPORT OF SPECIALLY-APPEARING DEFENDANT’S MOTION
                TO DISMISS PURSUANT TO FEDERAL RULE 12(b)(5)
      Case 3:23-cv-04277-VC Document 20-1 Filed 10/06/23 Page 2 of 6



 1         Howard St. Ste. 842, San Francisco, CA 94105.

 2      5. Samir Buorema is not an employee, officer, or agent of SafeGraph.

 3      6. SafeGraph does not maintain an office at 182 Howard St. Ste. 842, San Francisco, CA

 4         94105. On information and belief, this address is a UPS location.

 5      7. SafeGraph’s principal and mailing address are listed on the California Secretary of State

 6         (SOS) website as 1624 Market St. Ste 226, #53755, Denver, CO 80202. Attached as

 7         Exhibit B is a true and correct copy of the SOS Business Search webpage for SafeGraph.

 8      8. SafeGraph’s designated agent in San Francisco is correctly listed on the SOS website as

 9         Auren Hoffman, with a listed address of 3015 Pacific Ave., San Francisco, CA 94115.

10      9. Plaintiffs did not serve or deliver the Summons and Complaint to SafeGraph’s principal

11         and mailing address or to SafeGraph’s designated agent.

12      10. Plaintiffs did not mail the Summons and Complaint with a Notice and Acknowledgement

13         as required by California state law for service by mail.

14      11. SafeGraph received the Complaint on October 5, 2023, only after SafeGraph contacted

15         the UPS store located at 182 Howard St. Ste. 842, San Francisco, CA 94105.

16      12. Prior to filing the Motion to Dismiss Pursuant to Rule 12(b)(5), I spoke with Plaintiffs’

17         counsel by telephone on October 4, 2023, in an effort to resolve the service issue by

18         offering a waiver of service if Plaintiffs’ counsel would extend the time for SafeGraph to

19         respond to Plaintiffs’ Complaint. Plaintiffs’ counsel declined the offer, necessitating the

20         filing of the Motion and supporting documents.

21      13. I declare under penalty of perjury under the laws of the State of California that the

22         foregoing is true and correct to the best of my knowledge.

23

24
     Dated: October 6, 2023                               /s/ Aimee G. Hamoy
25                                                        AIMEE G. HAMOY
26

27

28

                                                      2
     DECLARATION IN SUPPORT OF SPECIALLY-APPEARING DEFENDANT’S MOTION
                TO DISMISS PURSUANT TO FEDERAL RULE 12(b)(5)
Case 3:23-cv-04277-VC Document 20-1 Filed 10/06/23 Page 3 of 6




                     Exhibit A
                             Case
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                                                                         10/06/23 Page
                                                                                   Page1 4ofof3 6

 Attorney or Party without Attorney:                                                                                        For Court Use Only
 Robert Tyler, Esq. (SBN 179572)
 ADVOCATES FOR FAITH & FREEDOM

 ,
     Telephone No:         951-600-2733
      Attorney For:                                                     Ref. No. or File No.:
                           Plaintiff
                                                                        CALVARY V. SANTA CLARA

 Insert name of Court, and Judicial District and Branch Court:
 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
 CALIFORNIA
     Plaintiff:       CALVARY CHAPEL SAN JOSE, a California nonprofit corporation; et al.
 Defendant:           SANTA CLARA COUNTY; et al.

           PROOF OF SERVICE                          Hearing Date:              Time:           Dept/Div:       Case Number:
                                                                                                                5:23-cv-04277
              SUMMONS
1.   At the time of service I was at least 18 years of age and not a party to this action.

2.   I served copies of the Summons in a Civil Action; Civil Cover Sheet; Complaint; Order Setting Initial Case Management
     Conference and ADR Deadlines

3.   a.    Party served:           SafeGraph
     b.    Person served:          Auren Hoffman, Agent for Service of Process

4.   Address where the party was served:             182 Howard St Ste. 842, San Francisco, CA 94105

5.   I served the party:
     b. by substituted service.             On: Wed, Aug 30 2023 at: 12:17 PM I left the documents listed in item 2 with or in the presence
                                            of: Samir Buorema, Authorized to Accept UPS confirmed box.

     (1)     X          (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to be
                        served. I informed him or her of the general nature of the papers.
     (2)                (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of the
                        party. I informed him or her of the general nature of the papers.
     (3)                (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the person
                        to be served, other than a United States Postal Service post office box. I informed him or her of
                        the general nature of the papers.
     (4)     X          (Declaration of Mailing) is attached.
     (5)                (Declaration of Diligence) attached stating actions taken first to attempt personal service.

6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.                   as an individual defendant.
      b.                   as the person sued under the fictitious name of (specify):
      c.                   as occupant.
      d.          X        On behalf of (specify): SafeGraph
                           under the following Code of Civil Procedure section:
                            X     416.10 (corporation)                                               415.95 (business organization, form unknown)
                                  416.20 (defunct corporation)                                       416.60 (minor)
                                  416.30 (joint stock company/association)                           416.70 (ward or conservatee)
                                  416.40 (association or partnership)                                416.90 (authorized person)
                                  416.50 (public entity)                                             415.46 (occupant)
                                  other:

                      Judicial Council Form POS-010                  PROOF OF SERVICE                                                               9484507
                      Rule 2.150.(a)&(b) Rev January 1, 2007            SUMMONS                                                                   (8731194)
                                                                                                                                                 Page 1 of 2
                         Case
                          Case3:23-cv-04277-VC
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                                                           9 Filed
                                                               Filed09/05/23
                                                                     10/06/23 Page
                                                                               Page2 5ofof3 6

 Attorney or Party without Attorney:                                                                                For Court Use Only
 Robert Tyler, Esq. (SBN 179572)
 ADVOCATES FOR FAITH & FREEDOM

 ,
     Telephone No:     951-600-2733
      Attorney For:                                               Ref. No. or File No.:
                       Plaintiff
                                                                  CALVARY V. SANTA CLARA

 Insert name of Court, and Judicial District and Branch Court:
 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
 CALIFORNIA
     Plaintiff:   CALVARY CHAPEL SAN JOSE, a California nonprofit corporation; et al.
 Defendant:       SANTA CLARA COUNTY; et al.

          PROOF OF SERVICE                       Hearing Date:            Time:           Dept/Div:     Case Number:
                                                                                                        5:23-cv-04277
             SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.   Person who served papers
     a. Name:                              David Cipres
     b. Address:                           FIRST LEGAL
                                           3600 Lime St., Ste. 626
                                           RIVERSIDE, CA 92501
     c.    Telephone number:               (951) 779-1110
     d.    The fee for service was:        $85.45
     e.    I am:
           (1)         not a registered California process server.
           (2)         exempt from registration under Business and Professions Code section 22350(b).
           (3)   X     a registered California process server:
                       (i)        owner         employee     X independent contractor
                          (ii)     Registration No: 2022-0001510, San Francisco
                          (iii)    County: San Francisco




8.   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                  08/31/2023
                                                                                     (Date)                             David Cipres




                  Judicial Council Form POS-010                  PROOF OF SERVICE                                                           9484507
                  Rule 2.150.(a)&(b) Rev January 1, 2007            SUMMONS                                                               (8731194)
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                         Case
                          Case3:23-cv-04277-VC
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                                                  Document20-1
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                                                               Filed09/05/23
                                                                     10/06/23 Page
                                                                               Page3 6ofof3 6

 Attorney or Party without Attorney:                                                                               For Court Use Only
 Robert Tyler, Esq. (SBN 179572)
 ADVOCATES FOR FAITH & FREEDOM

 ,
     Telephone No:     951-600-2733
      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 CALVARY V. SANTA CLARA

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 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
 CALIFORNIA
     Plaintiff:   CALVARY CHAPEL SAN JOSE, a California nonprofit corporation; et al.
 Defendant:       SANTA CLARA COUNTY; et al.

          PROOF OF SERVICE                       Hearing Date:           Time:           Dept/Div:     Case Number:
                                                                                                       5:23-cv-04277
              By Mail
1.   I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occurred.

2.   I served copies of the Summons in a Civil Action; Civil Cover Sheet; Complaint; Order Setting Initial Case Management
     Conference and ADR Deadlines

3.   By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail with postage
     prepaid as follows:
     a. Date of Mailing: Wed, Aug 30, 2023
     b. Place of Mailing: RIVERSIDE, CA 92501
     c. Addressed as follows: SafeGraph
                                182 Howard St, Ste. 842 San Francisco, CA 94105

4.   I am readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
     Service on Wed, Aug 30, 2023 in the ordinary course of business.

                                                                            Recoverable cost Per CCP 1033.5(a)(4)(B)
5. Person Serving:
   a. Jacquie Warner                               d. The Fee for Service was: $85.45
   b. FIRST LEGAL                                  e. I am not: Not a Registered California Process Server
      3600 Lime St., Ste. 626
      RIVERSIDE, CA 92501
   c. (951) 779-1110



6.   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                 08/31/2023
                                                                                    (Date)                             Jacquie Warner



                  Judicial Council Form                          PROOF OF SERVICE                                                         9484507
                  Rule 2.150.(a)&(b) Rev January 1, 2007             BY MAIL                                                            (8731194)
